USDC IN/ND case 3:18-cv-00979-JD document 1 filed 12/05/18 page 1 of 11
USDC IN/ND case 3:18-cv-00979-JD document 1 filed 12/05/18 page 2 of 11
USDC IN/ND case 3:18-cv-00979-JD document 1 filed 12/05/18 page 3 of 11
USDC IN/ND case 3:18-cv-00979-JD document 1 filed 12/05/18 page 4 of 11
USDC IN/ND case 3:18-cv-00979-JD document 1 filed 12/05/18 page 5 of 11
USDC IN/ND case 3:18-cv-00979-JD document 1 filed 12/05/18 page 6 of 11
USDC IN/ND case 3:18-cv-00979-JD document 1 filed 12/05/18 page 7 of 11
USDC IN/ND case 3:18-cv-00979-JD document 1 filed 12/05/18 page 8 of 11
USDC IN/ND case 3:18-cv-00979-JD document 1 filed 12/05/18 page 9 of 11
USDC IN/ND case 3:18-cv-00979-JD document 1 filed 12/05/18 page 10 of 11
USDC IN/ND case 3:18-cv-00979-JD document 1 filed 12/05/18 page 11 of 11
